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 1   Joe Shaeffer, WSBA #33273
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 2   705 Second Avenue, Suite 1500
     Seattle, WA 98104-1745
 3   206-622-1604
 4
 5
                       UNITED STATES DISTRICT COURT
 6              EASTERN DISTRICT OF WASHINGTON AT RICHLAND
 7   JOHN DOE 1; JOHN DOE 2; JANE
     DOE 1; JANE DOE 2; JANE DOE 3;                No. 4:21-cv-05059-TOR
 8   and all persons similarly situated,
                                                   DECLARATION OF JOHN DOE 2
 9                      Plaintiffs,
10                v.
11   WASHINGTON STATE
     DEPARTMENT OF CORRECTIONS;
12   STEPHEN SINCLAIR, Secretary of The
     Department of Corrections, in his official
13   capacity,
14                      Defendants,
15                and
16   BONNEVILLE INTERNATIONAL,
     INC. a Utah Corporation, d.b.a KIRO
17   Radio 97.3 FM; THE MCCLATCHY
     COMPANY, LLC, a California Limited
18   Liability Company, d.b.a. The Tacoma
     News Tribune; and ANDREA KELLY,
19   an individual,
20                      Interested Parties.
21

22
           I,              , declare and state as follows:
23


                                                                      MACDONALD HOAGUE & BAYLESS
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                                                                           Seattle, Washington 98104
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 1         1.     I am over the age of 18 and competent to make this declaration. I live
 2   in King County, Washington.
 3         2.     I am a transgender man. My legal name is                        At birth, I
 4   was assigned the female name                      , and I am known by this name to
 5   the Washington Department of Corrections (DOC). I was born on                                  .
 6         3.     In 2004, I was incarcerated in a woman’s prison, and in 2016, I came
 7   out and began my long and hard transition to finding social and personal
 8   acceptance as a man. While incarcerated, I received years of counseling from
 9   mental health workers in the Department of Corrections, hormone treatment, and
10   gender-affirming surgery. I also changed my legal name and my legal gender
11   marker on my state identification. While incarcerated, I had to be known as
12   transgender in order to access the basic tools I needed to live as a man and control
13   my gender dysphoria, like certain commissary and clothing items like chest binders
14   and boxer shorts. I did this in order to survive and live my life as a man.
15         4.     I was released from prison this year. Now, I am pretty much stealth in
16   the community, by which I mean that people do not know that I am transgender –
17   they just know me as a man. They do not know that I used to be a woman. I have
18   worked really hard to be stealth, and that is important to me for my mental health.
19   It is also important to me for my safety, because I am afraid that people would
20   attack me or sexually assault me if they knew that I am transgender. I am also
21   afraid that people would discriminate against me if they knew that I am
22   transgender. I am worried that I will have a hard time finding a job and finding an
23   apartment. Where I live now very few people know that I am transgender, and I


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 1   feel safe here. That would not be true if people in general knew I were transgender.
 2   I also come from a very traditional, religious family. Not everyone knows that I am
 3   a man. I am worried that I would lose relationships with members of my family if
 4   they knew I am a man.
 5         5.     I am also worried about how being outed by DOC would impact my
 6   mental health. In my life I have been diagnosed with recurrent major depressive
 7   disorder, borderline personality disorder, and other things. From my personal
 8   history I think if I were outed I would probably sink into a deep depression and I
 9   would isolate myself from other people. Sometimes I can feel my mind
10   unravelling, and like I am not going to make it. If I am outed by DOC I am afraid
11   that I would harm myself. I have spent years coming to terms with my male
12   identity and getting to a place where people just know me as a man, and if DOC
13   outs me that could all be undone.
14         6.     When I came out in DOC, I was told to provide my most sensitive
15   personal details about myself, including my sexual history, my gender history, and
16   my history of sexual abuse. I did this because I trusted that DOC was trying to
17   keep me safe and that they would keep my information private. I disclosed that I
18   was transgender. I disclosed information about my medical care and my anatomy. I
19   disclosed that          sexually molested me. My family would probably disown
20   me if they knew that I had shared this information. People have asked about how I
21   am doing in therapy and my mental health status, as well as my therapy treatment
22   goals. DOC has information about whether they think I look feminine or
23


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 1   masculine. It would be very embarrassing to me if all this information were made
 2   public.
 3         7.     DOC asked me if I wanted my transgender identity kept confidential
 4   from other people, and I wrote or said yes. This has happened at least once. Now I
 5   see they might be going back on their word.
 6         8.     I am now living in the community as a man, and I feel pretty free,
 7   even though I remain under the supervision of the Community Corrections division
 8   of DOC, and will be for about three more years. It is frustrating that DOC – the
 9   people who claimed to help me and used this information to protect me and treat
10   me – would allow my information to be disclosed to the world. I feel really
11   betrayed.
12         9.     The purpose of this lawsuit is to save me from the embarrassment and
13   harm that will result if my personal information is disclosed. As discussed here, I
14   have significant concerns about my privacy and safety if my identity and
15   information were released to the public. I am concerned that my name being used
16   in connection with this lawsuit will have the actual result of disclosing the personal
17   information that I am seeking to keep private. I also have concerns that the DOC
18   and its staff, the requestors, and the public would subject me to retaliation or
19   ridicule if my name were used in this action. For these reasons, and those stated
20   above, I desire to proceed anonymously.
21

22
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